The relief described hereinbelow is SO ORDERED.

SIGNED this 10th day of November, 2016.




_________________________________________________________________________



                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS


In re:

MARK H. ENGEN, and
MAUREEN E. ENGEN,                                                                 Case No. 15-20184
    Debtors.                                                                            Chapter 13


    ORDER CONTINUING HEARING ON TRUSTEE’S MOTION TO RECONSIDER

         The Trustee’s Motion to Reconsider is pending before the Court and is scheduled for

hearing on Tuesday, November 15, 2016.1 The Motion asks this Court to reconsider its Order

Conditionally Granting Debtors’ Motion to Retain Post-Petition Inherited 401(k) Distribution.2

Confirmation of the Debtors’ Fourth Amended Chapter 13 Plan also remains pending.3

         The Court finds that the interest of all parties will be best served in continuing the hearing

on Trustee’s Motion to Reconsider until after the matter of Confirmation is resolved.




1
  Doc. 70.
2
  Doc. 68.
3
  Doc. 52.

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        IT IS THEREFORE ORDERED that the Trustee’s Motion to Reconsider is continued

until Tuesday, December 13, 2016, at 9:30 a.m., in Room 151, U.S. Courthouse, 500 State

Avenue, Kansas City, Kansas.

        IT IS SO ORDERED

                                                   ###

ROBERT D. BERGER
U.S. BANKRUPTCY JUDGE
DISTRICT OF KANSAS




16.11.09 Engen - Order Continuing Hearing.docx                                            2

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